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GAS 245B          (Rev. 09/11) Judgment in a Criminal Case
DC Custody TSR     Sheet I



                                          United States District Court
                                                      SOUTHERN DISTRICT OF GEORGIA
                                                                 AUGUSTA DIVISION
                                                                             )
              UNITED STATES OF AMERICA                                                JUDGMENT IN A CRIMINAL CASE
                                                                             )
                                   V.                                        )
                     Daniel Walter Wade. Jr.                                 )
                                                                                      Case Number:           l:15CR00107-3
                               aka "D"                                       )
                                                                             )        USM Number:            20157-021
                                                                             )
                                                                             )        Andrew Marshall Magrwlei^
                                                                                      Defendant's Attorney                     ro
                                                                                                                          m    C9
THE DEFENDANT:                                                                                                                 cr»         CO

^ pleaded guilty to a lesser included offense of Count J_.                                                           o


□ pleaded nolo contendere to Count(s)
□ was found guilty on Count(s)
                                                               which was accepted by the court.
                                                        after a plea of not guilty.
                                                                                                                     ir:         I
                                                                                                                                VJD



                                                                                                                     ■ (E
                                                                                                                         O

                                                                                                                         G5            -co
                                                                                                                                o
The defendant is adjudicated guilty of this offense:                                                                                   *   d
                                                                                                                                rs3
                                                                                                                                            —!

Title & Section                   Nature of Offense                                                                Offense Ended                Count


21 U.S.C. § 846 and               Conspiracy to distribute and possess with intent to distribute                  December 3, 2015                1
21 U.S.C. § 841(b)(1)(C)          methamphetamine, a Schedule II controlled substance


      The defendant is sentenced as provided in pages 2 through                       of this Judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on Count(s)

S Counts         2 through 4, 9, 12, and 13        □ is      K1 are dismissed on the motion of the United States.
           It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                              June 8, 2016
                                                                              Date of imposition of.Ju



                                                                              Signature prJu




                                                                              J. Randal Hall
                                                                              United States District Judge
                                                                              Name and Title of Judge




                                                                               Date
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GAS 245B              (Rev. 09/11)Judgment in a Criminal Case                                   •                       Judgment — Page 2 of6
DC Custody TSR        Sheet 2-Imprisonment

DEFENDANT:                   Daniel Walter Wade, Jr.
CASE NUMBER:                 l:15CR00107-3



                                                                   IMPRISONMENT

            The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a total term of: M
            months. This term shall be served consecutively with any term imposed upon the revocation ofthe probation term in Columbia
            County Superior Court Docket Number 2013-CR-433.



     lEI    The court makes the following recommendations to the Bureau of Prisons:
            It is recommended that the defendant be designated to the appropriate Bureau of Prisons facility in Jesup, Georgia, first,
            Edgefield, South Carolina, second, or Estill, South Carolina, third, subject to capacity or any other regulation affecting such a
            designation. Further, it is recommended that the defendant be evaluated by Bureau of Prisons officials to establish his
            participation in an appropriate program ofsubstance abuse treatment and counseling during his term of incarceration.


     M      The defendant is remanded to the custody ofthe United States Marshal.

     □      The defendant shall surrender to the United States Marshal for this district:

           □     at                                    □    a.m.     □ p.m.           on                                       .
           □     as notified by the United States Marshal.

     □      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           □     before 2 p.m. on                                                           .
           □     as notified by the United States Marshal.

           □     as notified by the Probation or Pretrial Services Office.


                                                                         RETURN

I have executed this judgment as follows:




           Defendant delivered on                                                               to

at                                                         , with a certified copy of this judgment.


                                                                                                          UNITED STATES MARSHAL




                                                                                 By
                                                                                                       DEPUTY UNITED STATES MARSHAL
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GAS 245B            (Rev. 09/11)Judgment in a Criminal Case                                                             Judgment — Page 3 of6
DC Custody TSR      Sheet 3- Supervised Release

DEFENDANT:                 Daniel Walter Wade. Jr.
CASE NUMBER:               l:15CR00107-3



                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: 3 years.

           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody ofthe Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
Q       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk offuture
        substance abuse. (Check, ifapplicable.)
S       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, ifapplicable.)
ISI     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ifapplicable.)
        The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act(42 U.S.C. § 16901, et
□       seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
        resides, works, is a student, or was convicted of a qualifying offense. (Check, ifapplicable.)
□       The defendant shall participate in an approved program for domestic violence. (Check, ifapplicable.)
           If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                        STANDARD CONDITIONS OF SUPERVISION
        the defendant shall not leave the judicial district without the permission of the court or probation officer;
        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
        the defendant shall support his or her dependents and meet other family responsibilities;
        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
 11      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officer;
 12      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
         confirm the defendant's compliance with such notification requirement.
 14      any possession, use, or attempted use of any device to impede or evade drug testing shall be a violation of supervised release.
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DC Custody TSR     Sheet 3C-Supervised Release

DEFENDANT:               Daniel Walter Wade, Jr.
CASE NUMBER:             1:15CR00107-3



                                         SPECIAL CONDITIONS OF SUPERVISION
           1. The defendant shall participate in a program of testing for drug and alcohol abuse. Further, the defendant shall
               not tamper with any testing procedure.

        2. The defendant shall provide the probation officer with access to any requested financial information. The
           defendant shall not incur new credit charges or open additional lines of credit without the approval of the
           probation officer unless the defendant is in compliance with the installment payment schedule.

        3. The defendant shall submit his person, property, house, residence, office, papers, vehicle, computers (as defined
           in 18 U.S.C. § 1030(e)(1)), or other electronic communications or data storage devices or media, to a search
           conducted by the United States Probation Officer at a reasonable time and in a reasonable manner, based upon
           reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
               search may be grounds for revocation. The defendant shall warn any other occupants that the premises may be
               subject to searches pursuant to this condition.

           4. A curfew is imposed as a special condition of supervised release. The defendant shall comply with the conditions
              of a curfew from 10:00 p.m. until 6:00 a.m. for the period of supervision. During this time, the defendant will
              remain at his place of residence at all times and shall not leave except when such leave is approved in advance by
               the probation officer.

           5. The defendant shall earn a General Educational Development diploma if such diploma is not earned while
               incarcerated.



                                                            ACKNOWLEDGMENT

Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke
supervision,(2)extend the term of supervision, and/or(3) modify the conditions of supervision.
These conditions have been read to me. I fully understand the conditions and have been provided a copy ofthem.



  (Signed)
                    Defendant                                                        Uate




                    U.S. Probation Officer/Designated Witness                        Date
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GAS 245B         (Rev. 09/11) Judgment in a Criminal Case                                                          Judgment — Page 5 of6
DC Custody TSR   Sheet 5- Criminal Monetary Penalties

DEFENDANT:              Daniel Walter Wade, Jr.
CASE NUMBER:            1:15CR00107-3



                                            CRIMINAL MONETARY PENALTIES

    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                         Fine                             Restitution
TOTALS           $ 100                                           $ 1,500                                 N/A

□     The determination of restitution is deferred until                             . An Amended Judgment in a Criminal Case(A0245C)
      will be entered after such determination.


□     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
      otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
      victims must be paid before the United States is paid.

Name of Payee                               Total Loss*                         Restitution Ordered                Priority or Percentage




TOTALS                              $

□      Restitution amount ordered pursuant to plea agreement $

□      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
□      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      □    the interest requirement is waived for the        Q   fine          □ restitution.
      □    the interest requirement for the         □ fine       □ restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 1 IDA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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DC Custody TSR     Sheet 6- Schedule of Payments

DEFENDANT:                 Daniel Walter Wade, Jr.
CASE NUMBER:               1:15CR00107-3



                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties is due as follows:

A    13 Lump sum payment of$               100       due immediately, balance due

          □      not later than                                       » o'"
          13     in accordance       DC,         □ D,         □ E, or         3 F below; or

B    □ Payment to begin immediately (may be combined with                        DC,          □ D, or        DP below); or

C    □ Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                    (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or
D    □ Payment in equal                               (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                           (e.g., months or years), to commence                      (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    □ Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
       imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F    3 Special instructions regarding the payment of criminal monetary penalties:
          While in the custody of the Bureau of Prisons, the defendant shall make payments of either quarterly installments of a minimum
          of $25 if working non-UNICOR or a minimum of 50 percent of monthly earnings if working UNICOR. Upon release from
          imprisonment and while on supervised release, the defendant shall make minimum monthly payments of $50 over a period of 30
          months. Payments are to be made payable to the Clerk, United States District Court.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

Pursuant to 18 U.S.C. § 3572(d)(3), the defendant shall notify the Court of any material change in the defendant's economic circumstances
that might affect the defendant's ability to pay the fine.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

□      Joint and Several
       Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.



□      The defendant shall pay the cost of prosecution.
□      The defendant shall pay the following court cost(s):

□      The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
